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                        Outline of Legal Violations, Penalties, and Damages
I. Background of Allegations
   •   Plaintiff’s Claims:
           o   The plaintiff, Robert Allen Bautista, asserts that his employer,
               PricewaterhouseCoopers LLP (PWC), has failed to recognize his correct nationality,
               misclassifying him as a U.S. citizen. The plaintiff claims that he is a non-citizen national
               of the United States, a status he believes entitles him to certain rights and protections
               under U.S. law, including proper tax withholding and the ability to avoid misrepresenting
               his nationality.
           o   The plaintiff attempted to correct the record by submitting a new I-9 form and W-8BEN
               form on August 22, 2024, to clarify his status. He further claims that PWC’s refusal to
               correct his records constitutes a violation of his rights under 8 USC 1101(a)(22), 18 USC
               4, and 18 USC 911. Additionally, the plaintiff alleges that this failure to correct his
               nationality has led to improper tax withholding, fraudulent use of a Social Security
               number (SSN), and discrimination based on national origin, violating multiple statutes,
               including the Civil Rights Act of 1964.
           o   The plaintiff also claims that PWC’s actions amount to a violation of his human rights
               under international law, specifically the UN Declaration of Human Rights.
II. Nationality and Employment Classification Issues
A. Misclassification of Nationality
   •   Claim: The plaintiff alleges that PWC has misclassified him as a U.S. citizen, resulting in
       improper tax withholding and misrepresentation of his legal status in violation of federal law.
   •   Applicable Laws:
           o   8 USC 1101(a)(22): Defines a "national of the United States" as a U.S. citizen or a
               person who, though not a citizen, owes permanent allegiance to the United States.
               The plaintiff asserts that he is a non-citizen national under this definition.
           o   8 USC 1101(a)(21)-(23):
                      8 USC 1101(a)(21): Defines a U.S. citizen as anyone who, by birth or
                       naturalization, has citizenship under the jurisdiction of the United States.
                      8 USC 1101(a)(22): Defines a national of the United States as a person who,
                       although not a U.S. citizen, owes permanent allegiance to the United States
                       and is entitled to a U.S. passport.
                      8 USC 1101(a)(23): Defines naturalization as the conferring of nationality upon
                       a person after birth, by any means whatsoever. The plaintiff claims that he has
                       conferred nationality on himself under this definition, invoking the concept of
                       self-identified nationality through his affiliation with the Amnesty Coalition.
           o   8 USC 1324a(b): The I-9 employment verification form must be accurately completed,
               and the employer must verify the citizenship or legal work status of the employee. The
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               plaintiff argues that his correct nationality status should be reflected on the I-9, as forcing
               him to misrepresent his nationality as U.S. citizenship would constitute fraud under 18
               USC 911.
B. Form I-9 and W-8BEN Discrepancies
   •   Claim: The plaintiff submitted a new I-9 form and W-8BEN form to reflect his non-citizen
       national status and requested that his records be corrected. He claims that if forced to continue
       submitting documents that misrepresent his status, it would be a felony under 18 USC 911 (false
       claims of U.S. citizenship).
   •   Applicable Laws:
           o   8 USC 1324a(b): Requires employers to verify employees' work eligibility. The plaintiff
               argues that he is entitled to work as a non-citizen national, but the employer must
               correctly classify him as such on his employment records.
           o   18 USC 911: Makes it a felony to falsely claim U.S. citizenship. If the employer requires
               the plaintiff to falsely present himself as a U.S. citizen, this would be a violation of this
               statute.


III. Social Security Number (SSN) Issues
A. Use of Incorrect SSN
   •   Claim: The plaintiff asserts that the SSN previously associated with his employment was not his
       own but belonged to another person, and he requests that it be purged from PWC's records.
   •   Applicable Laws:
           o   42 USC 408: Prohibits the use of fraudulent or unauthorized Social Security numbers.
               The use of an incorrect SSN, even if unintentional, may lead to criminal penalties.
           o   18 USC 1028: Criminalizes identity theft and the use of someone else's identifying
               information, including SSNs. If PWC continues to use an SSN that does not belong to the
               plaintiff, they may be in violation of this statute.
           o   42 USC 408(a)(7): Specifies that it is a felony to use or disclose an SSN that does not
               belong to the person to whom it is assigned. This could result in criminal prosecution
               and penalties for PWC.
B. Deletion of SSN from Employer’s Records
   •   Claim: The plaintiff requests that PWC delete the incorrect SSN from their records entirely, as
       continuing to use it constitutes fraud under U.S. law.
   •   Applicable Laws:
           o   42 USC 408(a): Violations of SSN disclosure rules can result in criminal penalties,
               including fines and imprisonment.
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           o   18 USC 4: Criminalizes the act of misprision of a felony, or concealing a felony. If PWC
               is aware that the SSN on file is incorrect and fails to take action to correct it, they may be
               liable under this statute.


IV. Discrimination and Human Rights Violations
A. Discrimination Based on National Origin
   •   Claim: The plaintiff asserts that PWC’s failure to properly recognize his non-citizen national
       status constitutes discrimination based on national origin, violating his rights under Title VII of
       the Civil Rights Act of 1964.
   •   Applicable Laws:
           o   Title VII of the Civil Rights Act of 1964: Prohibits discrimination based on national
               origin. The plaintiff argues that his national origin status has been improperly
               recognized by PWC, which could be considered unlawful discrimination under Title VII.
           o   42 USC 1981: Prohibits discrimination on the basis of national origin in employment
               contracts.
           o   Immigration and Nationality Act (INA): Section 274B prohibits discrimination in
               employment based on citizenship status.
B. Human Rights Violations (UN Declaration of Human Rights)
   •   Claim: The plaintiff contends that his right to change or clarify his nationality is a human right
       protected by international law. Denying him this right violates the UN Declaration of Human
       Rights.
   •   Applicable Laws:
           o   UN Declaration of Human Rights, Article 15, Section 2: No one shall be arbitrarily
               deprived of their nationality or denied the right to change their nationality.
           o   International Covenant on Civil and Political Rights (ICCPR): Though the U.S. is a
               signatory, the ICCPR influences domestic legal interpretation regarding nationality rights.


V. Peonage and Forced Labor (Human Trafficking)
A. Human Trafficking and Coercion (Peonage)
   •   Claim: The plaintiff claims that PWC’s failure to correct his employment status and tax forms
       amounts to coercion or forced labor, thus violating his rights under U.S. human trafficking laws.
   •   Applicable Laws:
           o   18 USC 1595: Allows victims of trafficking to seek civil damages. The plaintiff asserts
               that PWC’s failure to correct his records may be considered coercion, making it liable for
               trafficking damages.
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            o   18 USC 1581: Prohibits peonage or forced labor, which includes any situation in which a
                person is forced to work under threat of unlawful detention or exploitation. If PWC’s
                actions are deemed coercive, the plaintiff may be entitled to compensatory and punitive
                damages.


VI. Potential Penalties and Damages for Employer
A. Criminal Penalties
    1. For Tax Fraud, Misclassification, and SSN Misuse:
            o   Fines: Up to $500,000 for individuals and $5 million for corporations (18 USC 77, 42
                USC 408).
            o   Imprisonment: Up to 5 years for each criminal violation (18 USC 77, 42 USC 408).
            o   Restitution: The employer may be required to pay restitution for any financial harm
                caused, including wrongful tax withholding and damages from SSN misuse.
    2. For Peonage and Human Trafficking:
            o   Criminal Prosecution: Violations of 18 USC 1595 and 18 USC 1581 may result in
                imprisonment and substantial fines.
B. Civil Penalties
    1. Civil Rights Violations (Discrimination and Human Rights):
            o   Compensatory Damages: For emotional distress, lost wages, and harm caused by
                discriminatory practices (42 USC 1981, Title VII).
            o   Punitive Damages: For gross misconduct or willful violation of rights.
            o   Injunctive Relief: The plaintiff may request that PWC correct their employment records
                and cease discriminatory practices.
C. Legal Fees
    •   Attorney’s Fees: If the plaintiff prevails, PWC may be required to pay the plaintiff’s attorney’s
        fees and other litigation costs (Title VII, 18 USC 1595).


VII. Conclusion
If the plaintiff’s allegations are substantiated, PricewaterhouseCoopers LLP could face significant
financial liability and legal consequences for violating a range of criminal statutes (such as tax fraud,
false citizenship claims, SSN misuse) and civil rights laws (discrimination, human rights violations).
The employer could also be exposed to compensatory and punitive damages, and may be subject to
criminal prosecution depending on the severity of the violations.
